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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                            CAMDEN VICINAGE


__________________________________________
                                          :
BENAMAX ICE, LLC                          :
                                          :         No. 1:20-CV-08069-JHR-KMW
                                          :
                        Plaintiff,        :         NOTICE OF MOTION TO
                                          :         DISMISS PURSUANT TO
              v.                          :         FED. R. CIV. PRO. 12(B)(6)
                                          :
MERCHANTS MUTUAL INSURANCE                :
COMPANY, JOHN DOES (1-10), AND ABC :
COMPANIES (1-10)                          :
                       Defendant.         :
                                          :


TO:     Robert W. Williams, Esq.
        Ashley S. Nechemia, Esq.
        Mattleman, Weinroth & Miller PC.
        401 Route 10 East B Suite 100
        Cherry Hill, New Jersey 08034
COUNSEL:
        PLEASE TAKE NOTICE that on August 17, 2020 at 9:00 a.m., or at such

other date and time as the Court may direct, defendant Merchants Mutual

Insurance Company, through its undersigned counsel, will move before the Hon.

Joseph H. Rodriguez at the United States District Court of New Jersey located at

the Mitchell H. Cohen Building & U.S. Courthouse, 4th and Cooper Streets,

Camden, NJ 08101 for an order dismissing Plaintiff, Benamax Ice, LLC’s Complaint

pursuant to Federal Rule of Civil Procedure (12)(b)(6).




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        PLEASE TAKE FURTHER NOTICE that defendants will rely on the

accompanying Memorandum of Law submitted herewith.


        PLEASE TAKE FURTHER NOTICE that a proposed form of order is

submitted herewith.


        PLEAE TAKE FURTHER NOTICE that oral argument is requested.




Dated: July 22, 2020                         Respectfully submitted,


                                             /s/ Nicole M. Crowley
                                             Nicole M. Crowley, Esq.
                                             Goldberg Segalla LLP
                                             Attorneys for Defendant Merchants
                                             Mutual Insurance Company


                         CERTIFICATION OF SERVICE
       On this date, I caused to be filed and served, via the ECF system, a copy of
the foregoing Notice of Motion, together with copies of the supporting Memorandum
of Law and proposed form of Order. I also caused copies of these documents to be
sent via New Jersey Lawyers Service, addressed to the following counsel in this
matter:
              Robert W. Williams, Esq.
              Ashley S. Nechemia, Esq.
              Mattleman, Weinroth & Miller PC.
              401 Route 10 East B Suite 100
              Cherry Hill, New Jersey 08034
     I certify under penalty of perjury under the laws of the United States of
America that the foregoing is true and accurate. Executed on July 22, 2020.
                                             /s/ Nicole M. Crowley
                                             Nicole M. Crowley




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